                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                    WESTERN DIVISION

PAULA BRITTAIN, et al.

v.                                CASE NO. 4:17cv00417 JM

JEFFERY EVERETTS, et al.

                                   INITIAL SCHEDULING ORDER

An appearance was entered by defendant(s) on July 7, 2017.

IT IS HEREBY ORDERED that the following deadlines and proposals are in effect:

        1. RULE 26(f) CONFERENCE DEADLINE:                          September 14, 2017.

The parties are jointly responsible for holding their Rule 26(f) conference on or before the date
specified.1

        2. RULE 26(f) REPORT DUE DATE:                              September 28, 2017.

Consult FRCP 26(f) and Local Rule 26.1 for information to be included in the Rule 26(f) Report.
The Joint Report should be filed with the Clerk of Court.

        3. PROPOSED TRIAL DATE:                                     July 23, 2018.2

The case will be scheduled for JURY TRIAL before Judge James M. Moody Jr. commencing at
9:15 a.m. sometime during the week as set forth above in LITTLE ROCK,.

        4. RULE (16b) CONFERENCE: Will be scheduled, if necessary.

Attached is a proposed Final Scheduling Order. If the parties oppose any deadlines
contained therein, please indicate in the Rule 26(f) Report the conflict and proposed alternative
deadlines. If additional deadlines are necessitated by the action, the parties are directed to list
any and all proposed and agreed deadlines in the Rule 26(f) report. A telephone conference
will be scheduled within one week of the filing of the Rule 26(f) Report, if necessary as
determined by the Court, to resolve any conflicts among the parties. The parties are advised
that the Court will not extend the motions deadline within 75 days prior to the trial date.

DATED: July 31, 2017
                                                            AT THE DIRECTION OF THE COURT
                                                            JAMES W. McCORMACK, CLERK

                                                            By: /s/ Kacie Glenn
                                                                    Deputy Clerk


        1
         It is the responsibility of the plaintiff to serve a copy of this Initial Scheduling Order on any
defendant who makes an appearance after this order has been filed. Any party making a new claim after
this order is entered is to immediately serve a copy on any new defendant(s).
        2
         Counsel should not file a motion for continuance or send a letter to the Court if there is a conflict
with the proposed trial date, but should indicate in the Rule 26(f) Report that a conflict exists.
